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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

Case No. CV 21-01188-DSF (DFM) Date: October 6, 2021

 

Title Stacy Chavies v. Commissioner of Social Security

 

 

Present: The Honorable Douglas F. McCormick, United States Magistrate Judge

 

 

 

Nancy Boehme Not Present
Deputy Clerk Court Reporter
Attorney(s) for Plaintiff: Attorney(s) for Defendant:

Not Present Not Present

 

Proceedings: (IN CHAMBERS) Order to Show Cause

On July 28, 2021, the Court ordered Plaintiff to take one of two actions. See Dkt. 5. She
could (a) show good cause in writing, if any existed, why her Complaint should not be dismissed
for violating the general rule that a non-lawyer parent cannot represent her minor child in federal
court, or (b) file an amended complaint alleging certain facts for the Court to determine whether
she has a sufficient interest in and basic competency to handle the litigation. See id.

The Court set a deadline for her response of twenty-one (21) days from the date of that
order. See id. That time has elapsed, and she has not responded.

Accordingly, she is ordered to show good cause in writing within twenty-one (21) days
from the date of this order why the Court should not dismiss this action for her failure to
prosecute it. She is warned that failure to respond to this order may result in dismissal of this
action. A filing responsive to the Court’s July 28, 2021 order is sufficient to discharge this order.

CV-90 (12/02) CIVIL MINUTES-GENERAL Initials of Deputy Clerk: nb
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